     Case 8:16-cv-01440-JLS-DFM Document 619-9 Filed 03/22/22 Page 1 of 5 Page ID
                                      #:14522



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     Attorneys for Plaintiffs DONEYDA PEREZ, DANNY NISSEN, MARLYS
12   NISSEN, JOSEPH ANGELO, GREGOGRY LAPLANTE and PAUL HOLT,
13   individually and on behalf of their respective businesses, and on behalf of all
     others similarly situated.
14
                             UNITED STATES DISTRICT COURT
15

16           CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION

17   DONEYDA PEREZ as an individual and              Case No. 8:16-CV-01440-JLS-DFM
18   on behalf of all others similarly situated,
                                                     DECLARATION OF DANNY NISSEN
19   Plaintiff,                                      IN SUPPORT OF MOTION FOR
                                                     PRELIMINARY APPROVAL OF
20                                                   CLASS ACTION SETTLEMENT
            v.
21                                                   Date: August 19, 2022
     DIRECTV GROUP HOLDINGS, LLC, a                  Time: 10:30 a.m.
22   Delaware Corporation, LONSTEIN LAW              Dept.: 8A
23   OFFICES, P.C., a New York Professional
     Corporation; SIGNAL AUDITING, INC.,             Fourth Amended Complaint Filed:
24   a New York Corporation, JULIE COHEN             December 17, 2020
     LONSTEIN and WAYNE M. LONSTEIN,
25

26   Defendants.

27

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                                 DECLARATION OF DANNY NISSEN
     Case 8:16-cv-01440-JLS-DFM Document 619-9 Filed 03/22/22 Page 2 of 5 Page ID
                                      #:14523



 1                        DECLARATION OF DANNY NISSEN
 2   I, Danny Nissen hereby declare as follows:
 3          1.     This Declaration is based on my personal knowledge. I am over the
 4   age of 18 years old, and if called as a witness, I would and could completely testify

 5   to these facts.
            2.     In 2001 my wife Marlys and I moved Mo’s One More Lounge, a
 6
     bar/restaurant previously located in Evansdale, Iowa to 4515 East Washburn Road,
 7
     Washburn, Iowa. We have owned and operated Mo’s continuously at that location
 8
     since that time.
 9
            3.     Sometime after May 17, 2013 my wife and I received a letter from the
10
     Lonstein Law Office (“LLO”) accusing us of violating the “Federal
11
     Communications Act” and “DIRECTV customer agreements.” Around that same
12
     time all of our DIRECTV services were shut off. Marlys called LLO and asked why
13
     our services had been shut off and all she was told is that we were violating the law
14   because we had a residential account in our business. Marlys explained that the LLO
15   woman demanded we pay $8,000 with a $2,500 down payment and 6 payments of
16   about $1,000 each. She was really upset, and as her husband that was really
17   upsetting for me, too.
18          4.     A number of months later, on or about October 24, 2013, someone
19   from LLO called again and threatened my wife with a lawsuit. Again, Marlys was
20   really upset and that was difficult for me as I had no idea what we had done wrong.
21          5.     In February 2015 we were served with a summons and complaint. My
22   wife and I were scared but found a local attorney who was willing to represent us

23   for an hourly rate and did not require an up-front retainer. After a few weeks of
     negotiations, our attorney advised us that LLO’s last and final offer was for us to
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     pay $7,500, a $2,000 initial payment and the remaining $5,500 in $500 monthly
25
     installments and agree to become a DIRECTV commercial subscriber. We had to
26
     borrow the money to pay the initial payment of $2,000. LLO also demanded a
27
     consent order and judgment in the amount of $15,000. My understanding was if we
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                                              -1-
                               DECLARATION OF DANNY NISSEN
     Case 8:16-cv-01440-JLS-DFM Document 619-9 Filed 03/22/22 Page 3 of 5 Page ID
                                      #:14524



 1   missed any payments, LLO could enforce the judgment against us for $15,000. We
 2   refused to become DIRECTV commercial subscribers because we were both really
 3   angry. We would have fought this lawsuit except our lawyer told us it would cost
 4   us more money to defend the case than to settle. Our legal fees in this matter were

 5   around $2000.00.
           6.     My wife and I know that we did not do anything wrong. We feel like
 6
     we were tricked and lied to by the DIRECTV representative and then forced to pay
 7
     DIRECTV and its attorneys’ money.
 8
           7.     I believe DIRECTV has utilized this scheme of soliciting services and
 9
     later claiming the services to be used illegally for the purpose of extorting money
10
     from small businesses like ours who lack the means to defend themselves and are
11
     scared to risk an unfavorable judgment. My husband and I would have preferred to
12
     fight the case, but we could not afford the legal fees necessary to do so.
13
           8.     Even before I was named as a Class Representative I made myself
14   available to class counsel at their request. After we signed on as representatives I
15   spent a significant number of hours searching for and reviewing documents in our
16   possession and reviewing them with my wife and the attorneys. I also spent time
17   reviewing documents produced by Defendants and discussing them with my
18   attorneys. I participated in many telephone calls with my attorneys, reviewed
19   discovery related to documents in my possession and many calls discussing the
20   mediation and settlement in this matter. I estimate that I personally spent 45-50
21   hours actively pursuing and assisting my attorneys in this litigation. This was time
22   taken away from my business and clients.

23         9.     When I agreed to become a Class Representative, I understood that I
     have a fiduciary duty to the class to act on their behalf and not in my own interests.
24
     I further understood that I would be required to actively participate in the litigation
25
     and I have maintained regular communication with my attorneys and have assisted
26
     when asked. I knew and appreciated the risk I was taking in agreeing to become a
27
     class representative in this case. I appreciated that Defendants were vigorously
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                                               -2-
                                DECLARATION OF DANNY NISSEN
     Case 8:16-cv-01440-JLS-DFM Document 619-9 Filed 03/22/22 Page 4 of 5 Page ID
                                      #:14525



 1   defending the action and knew my business might be subjected to investigation and
 2   scrutiny. I knew I would be required to sit through days of deposition and would be
 3   required to devote a significant amount of time to the litigation. I further knew the
 4   risk of potentially being liable for litigation costs associated with defending the

 5   case in the event a judgment was awarded to Defendants. I took those risks
     willingly to secure recovery for the class. I also understand that DIRECTV was
 6
     seeking to have my claim and Class Representative status dismissed when the
 7
     parties began settlement discussions. I understand that if my claims had been
 8
     dismissed, I would not likely receive anything for the efforts I undertook as a Class
 9
     Representative.
10
            10.     During settlement negotiations I understood the risks of moving
11
     forward with further class certification efforts and potential trial. Since the
12
     settlement negotiations lasted over a year, I maintained regular contact with my
13
     attorneys during this time to receive updates on the negotiations and status of the
14   case. Based on the substantial information provided and conversations with my
15   attorneys, I believe the pending settlement terms are fair, reasonable, adequate and
16   in the best interests of the class.
17          11.    I understand that this declaration is submitted in support of this court’s
18   consideration of Plaintiffs’ Motion for Approval of the Settlement. I have reviewed
19   the terms of the Settlement and discussed them with Ms. Clay. I support this
20   Settlement and believe it provides a reasonable recovery for the class members.
21          12.    I understand that as part of the Settlement, a request will be made on
22   my behalf for a service/incentive award in the amount of $10,000.00. I understand

23   that I am not guaranteed this payment and that it must be approved by the Court.

24
     When I agreed to become a class representative no one promised me any additional
     payment or discussed with me any certain amount and it has been made clear to me
25
     such request must be approved by the Court. I believe in light of the foregoing that
26
     this request is reasonable.
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                                   DECLARATION OF DANNY NISSEN
     Case 8:16-cv-01440-JLS-DFM Document 619-9 Filed 03/22/22 Page 5 of 5 Page ID
                                      #:14526




 I             13.      While I did not type this declaration, a copy was provided to me before
 2     I   signed and   I   was given the opportunity to make changes. The language of the
 a
 J     declaration has been drafted by one of my attorneys based on my verbal statements.

 4
       I adopt this declaration as my own     statement.

 5
               I declare under penalty of perjury under the laws of the United States and the
       State of Californiathat the foregoing is true and correct.
 6

 7

 8
               Dated this     lQ   day of March,2022   rt /t)u#,A, Iowa.
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                                                  Danny N
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                                      DECLARATION OF DANNY NISSEN
